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                    IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                            FAYETTEVILLE DIVISION

MARK FOCHTMAN and SHANE O’NEAL,
individually and on behalf of all others
similarly situated                                                         PLAINTIFFS

      v.                     CASE NO. 5:17-cv-05228-TLB

CAAIR, INC., SIMMONS FOODS, INC.,
DARP, INC., HENDREN PLASTICS, INC.,
and JOHN DOES 1-30                                                      DEFENDANTS


            PLAINTIFFS’ RESPONSE TO HENDREN PLASTICS, INC.’S
                     MOTION TO SEVER AND REMAND


                 I. INTRODUCTION & FACTUAL BACKGROUND

      This is a class action to recover for enslavement and violations of the Arkansas

Minimum Wage Act. Plaintiffs filed suit on October 23, 2017, in the Circuit Court of

Benton County, Arkansas. On November 6, 2017, Simmons Foods, Inc. removed the

action, alleging that this Court had jurisdiction under the Class Action Fairness Act, 28

U.S.C. § 1332(d) (“CAFA”). Hendren Plastics moved the Court to (1) sever the claims

asserted against Hendren Plastics and DARP, and (2) remand those claims to the Benton

County Circuit Court. (Doc. 20). In its motion, Hendren Plastics claimed it had an

arrangement with DARP, but did not have a relationship with CAAIR or Simmons.

Hendren Plastics further claimed that it “does not qualify for the $5 million threshold

required by CAFA for federal jurisdiction.” (Doc. 21, at *8). Although Plaintiffs do not

oppose severance, the case cannot be remanded based on the amount-in-controversy of

the severed case. The jurisdictional requirements are judged at the time of removal.
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Unless Hendren Plastics asserts that the total amount-in-controversy between Plaintiffs

and all Defendants is less than $5,000,000.00, both cases must remain in federal court.

                                      II. ARGUMENT

       A.     Plaintiffs do not oppose severance.

       Rule 20 of the Federal Rules of Civil Procedure provides that multiple defendants can

be joined in one action if (a) any right to relief is asserted against them jointly, severally,

or in the alternative with respect to or arising out of the same transaction, occurrence, or

series of transactions or occurrences; and (b) any question of law or fact common to all

defendants will arise in the action. Fed. R. Civ. P. 20(a)(2).

       Plaintiffs’ original complaint satisfied Rule 20’s requirements because their slavery

and Arkansas Minimum Wage Act claims are asserted against Defendants jointly and

severally and the claims all related to CAAIR and DARP’s practice of exploiting their

residents to work for for-profit industries in Arkansas. Some class members, including

Plaintiff Fochtman, were residents of both CAAIR and DARP during the relevant period

and worked for both Simmons and Hendren Plastics during that time. Likewise, other

class members who attended DARP worked for both Simmons and Hendren Plastics

during the statutory period. Plaintiffs’ claims, therefore, arise out of the same transaction,

occurrence, or series of transaction or occurrences and involve common questions of fact.

In addition, Plaintiffs’ slavery and AMWA claims give rise to common questions of law

that will apply to all class members and defendants that will determine the resolution of

this case. Plaintiffs’ complaint properly joined the parties and satisfied Rule 20.




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       Although Plaintiffs properly joined the parties in this action, Plaintiffs do not

oppose Hendren Plastics’ motion to sever the claims asserted against Hendren Plastics

and DARP. If the Court is inclined to sever the claims, Plaintiffs will prepare amended

complaints reflecting severance.

       B.     The Court should deny Hendren Plastics’ motion to remand because
              the Court’s jurisdiction is determined at the time of removal, and
              severance does not destroy CAFA jurisdiction.

       The Court should deny Hendren Plastics’ motion to remand. For CAFA

jurisdictional purposes, a court’s jurisdiction is measured at the time of removal, and

nothing filed after removal affects jurisdiction. Standard Fire Ins. Co. v. Knowles, 568 U.S.

558, 593 (2013) (“For jurisdictional purposes, our inquiry is limited to examining the case

‘as of the time it was filed in state court.’”); Hargis v. Access Capital Funding, LLC, 674 F.3d

783, 789 (8th Cir. 2012) (“It is axiomatic that the court’s jurisdiction is measured at the

time the action is commenced, or more pertinent to this case, at the time of removal.”)

“Further, jurisdiction is determined at the time of removal, even though subsequent

events may remove from the case the facts on which jurisdiction was predicated.” Hargis,

674 F.3d at 789; Cedar Lodge Plantation, LLC v. CSHV Fairway View I, LLC, 768 F.3d 427 (5th

Cir. 2014) (“It is well-established that the time-of-removal rule prevents post-removal

actions from destroying jurisdiction that attached in a federal court under CAFA.”). “The

time-of-filing rule is what it is precisely because the facts determining jurisdiction are

subject to change, and because constant litigation in response to that change would be

wasteful.” Grupo Dataflux v. Atlas Global Group, L.P., 541 U.S. 567, 580 (2004). “Every

circuit that has addressed the question has held that post-removal events do not ‘oust’

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CAFA jurisdiction.” Louisiana v. Am. Nat’l Prop. & Cas. Co., 746 F.3d 633, 639 (5th Cir.

2014).

         Once a case is removed to federal court under CAFA, subsequent severance does

not destroy federal jurisdiction over the severed claims. For example, in Louisiana, the

State of Louisiana brought a class action in state court under state law against several

insurers to recover on the homeowner insurance policies purchased by individual

Louisiana citizens. Id. at 635. The defendants removed the action under CAFA, and the

State of Louisiana unsuccessfully moved to remand. Id. On appeal, the Fifth Circuit

affirmed the district court’s order denying remand, holding that CAFA supplied federal

jurisdiction. Id. Afterwards, in response to the Louisiana Supreme Court’s resolution of a

certified question, the district court severed the 1,504 remaining claims and remanded

because the individual cases no longer satisfied CAFA’s jurisdictional requirements. Id.

at 635–36.

         The Fifth Circuit reversed the district court’s order remanding the severed

individual claims. Id. at 638–39. The Court held that “federal jurisdiction under the

statutory provision of CAFA is explicitly concerned with the status of an action when filed

― not how it subsequently evolves.” Id. at 639 (emphasis in original). As a result, because

the district court had CAFA jurisdiction over the original class action at the time of

removal, the district court still had such jurisdiction over the severed claims. Id. at 640.

This is true even though the severed claims did not on their own satisfy the requirements

for CAFA jurisdiction. Id. at 635. Additionally, CAFA’s legislative history reaches the

same conclusion: it is “clear that, once a complaint is properly removed to federal court,

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the federal court’s jurisdiction cannot be ‘ousted’ by later events.” Id. at 639 (citing S. Rep.

109-14, at 70 (2005) reprinted in 2005 U.S.C.C.A.N. 3, 65.). See also Hargis, 674 F.3d at 789–

90 (affirming district court’s order denying motion to remand because post-removal

amendments to complaint that sought to vitiate CAFA jurisdiction could not undue the

district court’s jurisdiction that existed at the time of removal.); Cedar Lodge Plantation,

768 F.3d 425 (same); Buetow v. A.L.S. Enters., 650 F.3d 1178, 1182 n.2 (8th Cir. 2011) (CAFA

“jurisdiction continued despite the district court’s denial of Plaintiffs’ motion for class

certification.”).

       Plaintiffs filed their class action complaint on October 23, 2017, in the Circuit Court

of Benton County, Arkansas, alleging claims against Simmons, CAAIR, DARP, and

Hendren Plastics. (Doc. 8). On November 6, 2017, Simmons Foods, Inc. removed the

action, alleging CAFA jurisdiction existed. (Doc. 1). CAFA concerns the aggregated

amount in controversy, and Hendren Plastics must claim that the Court lacks subject

matter jurisdiction over the case as a whole, as the case existed at the time of removal.

Gibson v. Clean Harbors Envt’l Servs., 840 F.3d 515, 518 (8th Cir. 2016). Thus, to determine

whether the Court has CAFA jurisdiction, Plaintiffs’ claims against all Defendants must

be considered.

       The Court should deny Hendren Plastics’ motion to remand because the Court’s

CAFA jurisdiction attached at the time of removal, and severing Hendren Plastics and

DARP does not disrupt jurisdiction. CAFA’s text is clear that once a court has jurisdiction

over a class action removed under CAFA, the Court retains that jurisdiction ― even if the

claims are subsequently severed into individual actions. The Court’s jurisdiction in this

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case will continue even if the Court severs. The Court should deny Hendren Plastics’

motion to remand any severed claims to Benton County Circuit Court.

                                   III. CONCLUSION

       Plaintiffs do not oppose Hendren Plastics’ motion to sever the claims asserted

against Hendren Plastics and DARP. Should the Court sever the claims, however, it

should deny the motion to remand unless the Court determines that the total amount in

controversy among all the parties is less than $5,000,000.00. After the Court’s jurisdiction

under CAFA is invoked, post-removal events like severance do not destroy CAFA

jurisdiction. This is true even if the severed claims do not on their own satisfy the

requirements for CAFA jurisdiction. The Court should deny Hendren Plastics’ motion to

remand.


                                          Respectfully Submitted,


                                          HOLLEMAN & ASSOCIATES, P.A.
                                          1008 West Second Street
                                          Little Rock, Arkansas 72201
                                          Tel. 501.975.5040
                                          Fax 501.975.5043

                                          /s/Timothy A. Steadman
                                          John Holleman, ABN 91056
                                          jholleman@johnholleman.net
                                          Timothy A. Steadman, ABN 2009113
                                          tim@johnholleman.net
                                          Jerry Garner, ABN 2014134
                                          jerry@johnholleman.net




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                          CERTIFICATE OF SERVICE

       I, Timothy A. Steadman, hereby certify that a true and correct copy of the
foregoing document was served via CM/ECF on November 27, 2017, which will send
notice to all counsel of record.




                                     By:     /s/Timothy A. Steadman
                                             Timothy A. Steadman




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